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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                     )
                                             ) Case No. 14 CR 674
      v.                                     )
                                             ) Honorable Virginia M. Kendall
ALDO BROWN                                   )

               PARTIES’ AGREED STATEMENT OF THE CASE

      The United States of America, by its attorney, Zachary T. Fardon, United

States Attorney for the Northern District of Illinois, respectfully submits to the

Court the parties’ agreed Statement of the Case to be read to the venire during jury

selection:

      The defendant Aldo Brown is charged by indictment with one count of

excessive force and two counts of making a false entry in a police report.

      The defendant has pleaded not guilty to the charges.

                                              Respectfully submitted,

                                              ZACHARY T. FARDON
                                              United States Attorney

                                       By:    /s/ Jessica Romero
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